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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHEN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA               §
                                       §
vs.                                    §             CASE NUMBER 3:18-CR-409-M
                                       §
DWAIN CARAWAY                          §

           MOTION FOR TRANSFER TO HOME CONFINEMENT

TO THE HONORABLE BARBARA M. G. LYNN, CHIEF JUDGE OF THE UNITED
STATES DISTRICT FOR THE NORTHERN DISTRICT OF TEXAS, DALLAS
DIVISION:

      COMES NOW, DWAINE CARAWAY, Register Number 57553177, pursuant

to 18 U.S.C. Section 3582(c)(1)(A)(i), Section 1B1.13 of the U.S. Sentencing

Guidelines, BOP program statement 5050.50 and 28 CFR Section 571.61, and through

his counsel respectfully moves this Court for an order for transfer to home confinement.

      Mr. Caraway is a 68-year-old currently incarcerated at the Big Spring Federal

Correction Facility, Minimum Security Satellite Camp. Mr. Caraway pleaded guilty in

the United States District Court for the Northern District of Texas to (1) Conspiracy to

Commit Honest Services Wire Fraud 18 U.S.C. §371 and (2) Tax Evasion, 26 U.S.C.

§7201. On April 8, 2018, he was sentenced to serve 56 months in federal custody. Mr.

Caraway is clearly a “high risk” prisoner because of his age, medical conditions that he

suffers from.


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         Prior to being charged with the above referenced offenses, Mr. Caraway had been

under the care of various medical providers for various medical conditions, including

but not limited to sleep apnea, hypertension, esophageal dyskinesia, hyperlipidemia,

hypogonadism, polyneurophathy and other illnesses, all of which have been properly

documented in his Pre-Sentencing Report,1 and the attached letter from his medical

provider, dated September 14, 2018 and marked as EXHIBIT 1.

         During an occasion where he was brought back to Seagoville Detention Center,

Mr. Caraway was transported to a medical facility in Dallas, Texas where he underwent

a heart related procedure.2

         Due to his age and current health conditions, he is in a vulnerable group for

susceptibility to the Coronavirus and serious medical complications from that disease.

         As of June 30, 2020, the BOP website was reporting 1,513 confirmed COVID-19

cases as well as 152 BOP staff who have tested positive for COVID-193

         On May 21, 2020 Mr. Caraway, through his counsel requested to be released to

home confinement from the Warden at Big Spring FCI but has not received a response.

More than 30 days have lapsed sine the request was made.

         As this world health crisis has continued, federal judges across the country are

    1
        See Pre-sentencing report
    2
        See Medical reports contained in Defendant’s file with BOP
    3
        Https://www/bop.gov/coronavirus/.

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  ordering inmates in BOP custody to be released. One such judge, on May 19, 2020, took

  the unprecedented step of ordering the BOP to expedite the release of 837 potentially

  at-risk prisoners from the Elkton Federal Correction Institution in Ohio.4 The order came

  after the court cited “poor progress” in the transfer of such prisoners to either home

  confinement or compassionate release.5 “By thumbing their nose at their authority to

  authorize home confinement,” the judge wrote, the Bureau of Prisons “threaten staff and

  they threaten low security inmates.”6 The judge also noted that testing “can only go so

  far in helping the institution fight the pandemic,” while social distancing “has been, and

  continues to be, the institution’s best hope” for fighting the disease’s spread. The

  initiative taken by judges is not just limited to Ohio. In Michigan, on April 21, 2020,

  U.S. District Court Judge Paul L. Maloney, ordered the compassionate release of a man

  convicted of multiple bank robberies.7 Judge Maloney found extraordinary and

  compelling reasons for his release, writing “FCI Elkton has the second highest number

  of deaths of any federal prison...Further, Love has a higher risk of falling severely ill




       4
         https://www.cleveland19.com/2020/05/19/federal-judge-orders-prison-officials-expedite-elkton-
inmates-due-covid-risks.
       5
           Id.
       6
           Id.
       7
         https://www.wzzm13.com/srticle/news/crime/bank-robber-gets-compassionate-release-from-prison-
due-to-coronavirus/69-c2d761c0-87-e3-479a-a557-c05537022b55.

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  from COVID-19.”8 In California, an inmate, Mr. Fischman, was ordered released on

  May 1, 2020 from FCI Terminal Island even after testing positive for COVID-19.

  (Attached Exhibit 2):

            The Court recognizes that the Bureau of Prisons is trying to control the
            spread of COVID-19 and care for the health and safety of the inmates
            within its facilities. Yet Mr. Fischman’s age and diagnosis put him at
            heightened risk of becoming seriously ill. The Court finds that these
            circumstances establish “extraordinary and compelling reasons”
            warranting Mr. Fischman’s immediate release. See 18 U.S.C. §
            3582(c)(1)(A)(I).

            In Connecticut, citing a “once-in-a-century public health crisis,” on May 12, 2020,

  U.S. District Court judge Michael P. Shea ordered prison officials at the FCI in Danbury

  to speed up the release of inmates to prevent the spread of COVID-19.9 Judge Shea

  ordered Warden Easter to submit to the court a list of medically vulnerable inmates

  within three days: including individuals age 65 and older or those who have chronic lung

  disease like asthma or chronic bronchitis, chronic kidney disease, serious heart

  conditions or are immuno-compromised or are severely obese.10

            Not only are these judges releasing individual people, but they are requiring

  wardens to take the steps themselves to release those most vulnerable so that everyone,



       8
         https://www.wzzm13.com/srticle/news/crime/bank-robber-gets-compassionate-relesase-from-prison-
due-to-coronavirus/69-c2d761c0-87-e3-479a-a557-c05537022b55.
       9
           https://ctmirror.org/2020/05/13/judge-orders-federal-prison-to-expedite-release-of-danbury-inmates/.
       10
            Id.

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inside the prison and out, can be protected. As Judge Shea wrote, the BOP needs to

implement a process “that makes full and speedy use of the home confinement

authority” without arbitrarily making inmates ineligible based on their conviction,

disciplinary history or the amount of time they have served.11

         The need to address a potential order of home confinement for Mr. Caraway is

urgent. President Trump declared a National Emergency concerning the novel

Coronavirus disease (COVID-19) outbreak on March 13, 2020.12 The United States

surpassed all other nations in the number of reported COVID-19 cases less than two

weeks later. As of July 1, 2020, 2,686,258 cases of COVID-19 have been reported, and

128,062 people have died. As of July 1, 2020, in Texas, 172,368 COVID-19 cases have

been reported, and 2,503 people have died. Howard County, where Mr. Caraway is

being housed, had 40 reported COVID-19 cases, and 1 death as of July 1, 2020. Even

with protective measures in place, government officials believe the number of COVID-

19 cases and deaths will continue to increase. As of July 1, 2020, over 9300 cases per

day are reported in the state.

         A COVID-19 outbreak in a correctional facility has already resulted in devastating

impacts on older, medically vulnerable people. According to FAIR Health, “correctional

detention facilities ‘present unique challenges for control of COVID-19 transmission

    11
         Id.
    12
         Proclamation, President Donald Trump, The Whitehouse (Mar.13, 2020)

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  among incarcerated/detained persons and staff.’” United States v. Kennedy, No. 18-

  20315, 2020 U.S. Dist. LEXIS 53359 (E.D. Mich. Mar. 27, 2020). The average cost to

  the system of a COVID-19 inpatient stay is between $38,000 and $73,000, depending

  on the severity of the disease.13 Courts have taken “judicial notice that, for people of

  advanced age, with underlying health problems, or both, COVID-19 causes severe

  medical conditions and has increased lethality.” Basank v. Decker, 2020 U.S. Dist.

  LEXIS 53191 (S.D.N.Y. Mar. 26, 2020). Older adults and individuals with underlying

  medical conditions are at an increased risk of severe illness from COVID-19.14

  Specifically, the most frequent comorbidities for COVID-19 are diabetes and

  hypertension.15 Both diagnoses result in increased hospitalization and mortality rates.16

  Individuals with diabetes are three times as likely to die from the virus.17 Recognizing

  that COVID-19 has ripped through federal jails and prisons, Attorney General Barr

  issued the April 3, 2020 memorandum directing the Bureau of Prisons (“BOP”) to

  expedite processing of vulnerable inmates.18 The cramped and unsanitary conditions

       13
         COVID-19: The Projected Economic Impact of the COVID-10 Pandemic on the US Healthcare
System, FAAIR Health 2 (Mar. 25, 2020)
       14
            Id.
       15
            Id.
       16
            Id.
       17
            Id.
       18
        See Office of Attorney general, Increasing Use of Home Confinement at Institutions Most Effected
by COVID-19, Politico (Apr. 3, 2020)

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  within prisons endangers inmates, corrections officers, and the broader community.19 As

  of July 1, 2020 there were 1,563 inmates and 164 BOP Staff who had tested positive for

  COVID-19 and 90 federal inmate deaths. BOP staff members around the country have

  filed workplace safety complaints due to the safety risks inherent in working in a prison

  during the outbreak of COVID-19.

             Mr. Caraway is at significant risk in the prison environment.

             Mr. Caraway is in dire risk of severe illness or premature death in the facility due

  to COVID-19. Mr. Caraway is in at-risk categories due to his diagnoses of hypertension

  and sleep apnea and being overweight. (See Exhibit 1)

             One of the best ways to prevent contracting COVID-19 is simply to avoid close

  contact with others by practicing social distancing. However, “it goes without saying

  that prisons [are] generally crowded spaces, and therefore are less than conducive to the

  practice of social distancing.” United States v. Roeder, No. 20-1682, 2020 U.S. App.

  LEXIS 10246 (3d Cir. Apr. 1, 2020). “It is not possible for a medically vulnerable

  inmate to isolate himself in [a correctional setting] as recommended by the CDC.”

  United States v. Ramos, 18-CR-30009-FDS, 2020 U.S. Dist. LEXIS 52586, at *4 (D.

  Mass. Mar. 26, 2020). There are reports of bathrooms running out of soap, commonly

  used areas that cannot be sanitized, and the same staff members attending to sick and


        19
          Kimberly Kindy, et. Al., ‘Disaster Waiting to Happen’:Thousand of Inmates Released as Jails and
Prisons Face Coronavirus Threat, Washington Post (Mar. 25, 2020)

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quarantined people and those in the general population.

      As one district court has articulated, “As prison officials are beginning to

recognize around the country, even the most stringent precautionary measures— short

of limiting the detained population itself—simply cannot protect detainees from the

extremely high risk of contracting this unique and deadly disease.” Malam v. Adducci,

No. 20-10829, 2020 U.S. Dist. LEXIS 59407, at *22 (E.D. Mich. Apr. 5, 2020). Wider

exposure in these current conditions is likely.

      I.     Home Confinement Analysis

      Mr. Caraway respectfully asks the Court to order him to home confinement

instead of imprisonment at the federal facility based on “extraordinary and compelling

reasons,” to be discussed below. Due to the recent devastating COVID-19 outbreak, Mr.

Caraway’s status as a model inmate and his medical conditions, Mr. Caraway should be

released as quickly as possible from federal prison and ordered to serve the rest of his

sentence under home condiment for his health and safety, as well as for the health and

safety of others.

      A.     This Court should grant relief as 30 Days Have Elapsed Since Mr.
             Caraway’s Request to BOP.

      The unanticipated and widespread outbreak of COVID-19 results in “extraordinary

and compelling” circumstances. First, Mr. Caraway suffers from hypertension and sleep

apnea and other illnesses making him more susceptible to medical complications from

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COVID-19. Second, the conditions in prison simply do not allow for social distancing, the

method recommended by the Center for Disease Control to help stop the spread of

COVID-19. Many courts have already agreed that COVID-19 constitutes “extraordinary

and compelling” circumstances under the First Step Act (“FSA”).

       In United States v. Muniz, the United States District Court for the Southern District

of Texas granted the defendant’s petition for early release after considering the defendant’s

age, medical condition, and the rapidity with which COVID-19 can spread among

prisoners. Muniz, 2020 U.S. Dist. LEXIS 59255. In Muniz, the defendant was imprisoned

for conspiracy to possess with intent to distribute a controlled substance. Id. The defendant

had multiple illnesses, including end stage renal disease, diabetes, and arterial hypertension.

Id. at *5. In addition to these illnesses, the Court also found reported cases of COVID-19

in prisons to be a persuading factor. Id. at *4. In particular, the Court discussed two cases

in Chicago’s Cook County jail that resulted in 101 inmates and a dozen employees testing

positive for COVID-19 in less than a week. Id. Additionally, at least one inmate and staff

member tested positive for COVID-19 in the facility where the defendant was housed. Id.

at *5. The court determined that the defendant was particularly vulnerable to illness from

COVID-19 due to his medical conditions, the confirmed cases in the facility where the

defendant was housed, and the quickness with which COVID-19 can spread. Id. at *7.

       Similar to the movant in Muniz, Mr. Caraway is non-violent and suffers from


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ailments that put him at risk for contracting and spreading COVID-19. Mr. Caraway is a

man in his late 60’s who does not pose a threat to the community upon release. He was

convicted of two non-violent charges and already has a plan in place for re-entry.

Additionally, Mr. Caraway meets the requirements for extraordinary and compelling

circumstances. The Center for Disease Control acknowledged that correctional detention

facilities present unique challenges for control of COVID-19 transmission among

incarcerated persons, and staff. Mr. Caraway’s concerns are warranted. His plea for an

order allowing him to serve the rest fo sentence under home confinement, in light of the

state of the national emergency due to COVID-19, is compelling.

      C. Mr. Caraway is not a danger to his community and should allowed to serve
the rest of his sentence under home confinement.

      The Court, in determining if Mr. Caraway should be allowed to serve the rest of his

sentence under home confinement, must decide if Mr. Caraway is a danger under the

factors of 18 U.S.C. § 3142(g). U.S.S.G. § 1B1.13 appl. n. 1. The factors include: the

nature of the offense, including whether it was violent, “the weight of the evidence

against” the defendant, the defendant’s character, physical condition, criminal history and

community or family ties, whether the defendant was on probation or parole at the time

of his arrest, and the seriousness of the danger the defendant poses to the community. 18

U.S.C. § 3142(g). When Mr. Caraway was charged, he had no violent criminal history.

Mr. Caraway also does not have a history of drug or alcohol abuse. There are no

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allegations of violence made against him. He also has had no disciplinary infractions

during his time at Big Spring FCI.

      Home Confinement Plan

      Mr. Caraway is a 68-year-old man who suffers from numerous physical ailments.

Immediately following a home confinement order from this Court, Mr. Caraway will

travel directly to his home in Dallas, Texas. Mr. Caraway is on Social Security and if

allowed to finish his sentence under home confinement, he will be able to get the care that

he needs while maintaining social distancing protocols.

      Mr. Caraway has no intention of leading anything but law-abiding life with his

family in his remaining years. His release from federal facility will protect his health and

safety, as well as reduce density in the prison, promoting the health and safety of others.

      D. The Applicable Factors of § 3553(a) Weigh in Favor of Relief.

      The court must consider the factors in § 3553(a) when determining whether to

modify a prison sentence. 18 U.S.C. § 3582(c)(1)(A). However, only to the extent that

those factors are applicable. Id. The applicable factors here include:

      (1)    the nature and circumstances of the offense and the history and
             characteristics of the defendant;

      (2)    he need for the sentence imposed--
             (A) to reflect the seriousness of the offense, to promote respect for the
                   law, and to provide just punishment for the offense;
             (B) to afford adequate deterrence to criminal conduct;
             ©     to protect the public from further crimes of the defendant; and

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              (D)      to provide the defendant with needed educational or vocational
                       training, medical care, or other correctional treatment in the most
                       effective manner;
              . . . [and]

      (6)     the need to avoid unwarranted sentence disparities among defendants with
              similar records who have been found guilty of similar conduct[.]

18 U.S.C. § 3553(a). The court shall also not impose a sentence that is greater than

necessary to comply with subsection (2). Id.

      The first relevant factor looks at the nature of the offense and the character of the

Defendant. Id. § 3553(a)(1). As mentioned above, Mr. Caraway has no prior history of

violent crimes. Mr. Caraway was arrested on a charge of (1) Conspiracy to Commit

Honest Services Wire Fraud 18 U.S.C. §371 and (2) Tax Evasion, 26 U.S.C. §7201.

These are serious, though non-violent offenses. He has managed to maintain a good

relationship with his wife and she is fully supportive of him serving the rest of his

sentence under home confinement. This factor weighs in favor of Mr. Caraway’s

immediate release from custody as his crimes were non-violent and he is not a danger

to society.

      The second relevant factor asks the court to consider the enumerated purposes of

punishment in § 3553(a)(2). Rodriguez, 2020 WL 1627331 at *23. The court, following

those purposes, should “impose a sentence sufficient, but not greater than necessary, to

comply.” § 3553(a). The release of Mr. Caraway to home confinement would result in


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“just punishment.” Mr. Caraway’s charges were serious, but he has shown good conduct

and has served many months already for these crimes. He respects the law and has only

been remorseful in his time in prison. While there, he started a class where inmates were

taught how not to re-offend. To leave Mr. Caraway in prison, without the ability to

social distance, is to put his health and the health of others at serious risk. For someone

with his ailments it could be a death sentence. That would not be a just punishment for

his level of offense. Further, Mr. Caraway poses no threat to the community as these

were non-violent offenses.

      At this point, the facility is also not able to adequately follow the CDC’s

guidelines on social distancing, leaving Mr. Caraway, his fellow inmates, and BOP staff

in grave danger. What would have been imaginable a few months ago, is now a reality.

Given the circumstances, Mr. Caraway’s continued imprisonment no longer complies

with the sentencing purposes, as his punishment is now greater. As this factor too

weighs in favor of relief, the court should order Mr. Caraway to serve the rest of his

sentence under home confinement.

      The final relevant factor has courts consider “the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found guilty

of similar conduct.” § 3553(a)(6). Because the Covid-19 pandemic has created

unprecedented difficulties for BOP and the inmates incarcerated there, the significance


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of the amount of time being served has also changed. Serving a custodial sentence in a

time when the inmates around an incarcerated individual are contracting and even dying

from a highly communicable disease is much more punitive than it was even just a few

months ago. For these reasons, Mr. Caraway has served a relatively adequate amount of

time in prison and will serve the rest of his sentence under home confinement to meet

the goals of sentencing.

      Mr. Caraway is a 68-year-old man vulnerable to severe consequences of the

coronavirus. At this moment, the Court has “extraordinary and compelling” reasons to

allow him to serve the rest of his sentence at home. We respectfully request that this

Court grant Mr. Caraway’s release to home confinement.

                                      Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been forwarded to Mr.
Andrew Wirmani, Assistant United States Attorney in charge of this case, on July 22,
2020, utilizing the ECF system which sent notification of the filing and a link to an
electronic copy the document to all parties that participated in the ECF system.


                                        /s/ Michael D. Payma
                                        MICHAEL D. PAYMA




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                    EXHIBIT A
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